Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 1 of 25 PageID 1



                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA

                        CIVIL ACTION NO.

SECURITIES AND EXCHANGE COMMISSION,

                                Plaintiff,

V.



BRIAN DAVISON,
BARRY M.RYBICKI,
EQUIALT LLC,
EQUIALT FUND,LLC,
EQUIALT FUND II, LLC,
EQUIALT FUND III, LLC,
EA SIP,LLC,

                                Defendants,and                    UNDERSEAL


128 E. DAVIS BLVD,LLC,
310 78TH AVE,LLC,
551 3D AVE S,LLC,
604 WEST AZEELE,LLC,
2101 W.CYPRESS,LLC,
2112 W.KENNEDY BLVD,LLC,
5123 E. BROADWAY AVE,LLC,
BLUE WATERS TI,LLC,
BNAZ,LLC,
BR SUPPORT SERVICES,LLC,
BUNGALOWS TI,LLC,
CAPRI HAVEN,LLC,
EA NY,LLC,
EQUIALT 519 3RD AVE S., LLC,
MCDONALD REVOCABLE LIVING TRUST,
SILVER SANDS TI,LLC,
TB OLDEST HOUSE EST. 1842, LLC,

                                Relief Defendants.




 COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF AND DEMAND FOR JURY
                                       TRIAL

      Plaintiff Securities and Exchange Commission("Commission")alleges:
 Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 2 of 25 PageID 2




                                   I.      INTRODUCTION

   1.      The Commission brings this emergency action to halt an ongoing fraud conducted by

EquiAlt LLC ("EquiAlt"), a private real estate investment company. Beginning in 2011 to the

present. Defendants EquiAlt, Brian Davison ("Davison") and Barry Rybicki ("Rybicki")

conducted a Ponzi scheme raising more than $170 million from over 1,100 investors nationwide,

many ofthem elderly, through fraudulent unregistered securities offerings. Defendants promised

investors that substantially all of their money would be used to purchase real estate in distressed

markets in the United States and their investments would yield generous returns. Instead, EquiAlt,

Davison, and Rybicki misappropriated millions in investor funds for their own personal use and

benefit.


  2.       Despite receiving over $170 million in investor funds, the revenues generated by the

Funds during the last nine years have been significantly less than the amounts of interest owed to

investors. Without sufficient revenues to pay the money owed to investors, the Defendants

resorted to fraud, using new investor money to pay the returns promised to existing investors.

Meanwhile, Davison and Rybicki paid themselves millions from the Funds and spent it on luxury

automobiles, fine jewelry and chartering private Jets, among other expenditures.

   3.      In addition to conducting a Ponzi scheme and misappropriating investor money,

Davison and Rybicki made material misrepresentations and omissions to investors.               The

investments—unregistered securities in the form of debentures issued by four real estate

investment funds managed by EquiAlt—were falsely touted to investors as "secure,""safe,""low

risk," and "conservative." Moreover, Davison and Rybicki paid significant sales commissions to

numerous unregistered sales agents who sold investments to unaccredited and unsophisticated

investors in various states.
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 3 of 25 PageID 3




  4.      At all times relevant to the allegations herein, Davison and Rybicki exercised control

over the business operations of EquiAlt and its four real estate investment funds: EquiAlt Fund,

LLC ("Fund 1"), EquiAlt Fund II, LLC ("Fund 2"),' EquiAlt Fund III ("Fund 3"), and EA SIP,
LLC ("EA SIP Fund")(the "Corporate Defendants"). More specifically, Davison controlled the

accounting and finances for these Funds as well as their bank accounts. He was also responsible

for making Ponzi payments to investors. Rybicki controlled communications with investors and

executed agreements with investors, including debentures and subscription agreements containing

numerous representations and warranties.

  5.      Investor money has been misused and misappropriated in several distinct ways,

including(a) money from one Fund used to purchase real estate for another Fund or for third party

entities owned by Davison;(b) money from one Fund used to pay investors in another Fund;(c)

substantial undisclosed commissions paid to unregistered sales agents;(d)substantial undisclosed

fees such as due diligence fees, management fees, success fees, auction fees, underwriting fees,

purchase discount fees, and bonuses paid to EquiAlt and Davison; and (e) substantial improper

distributions of cash to Davison and Rybicki. As a result of this misuse and misappropriation of

millions of dollars of investor funds. Fund 1, Fund 2, and the EA SIP Fund are in a precarious

financial condition.


  6.      The combined assets of EquiAlt and its three active funds(Fund 1, Fund 2, and the EA

SIP Fund) are insufficient to repay the principal and interest owed to approximately 1,100

investors. By December 2020, investors in these three funds will be owed approximately $167

million in principal and interest. However, as of November 2019, the assets of EquiAlt, Fund 1,

Fund 2, and the EA SIP Fund total only $6.8 million in cash and real property purportedly worth

$145 million, which is based on EquiAlfs own inflated valuation. Thus, the combined assets of
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 4 of 25 PageID 4




the three active Funds are insufficient to pay investors the principal and interest owed to them at

the end of this year.

   7.     As a result ofthe conduct alleged in this Complaint, all the Defendants violated Sections

5(a) and 5(c) of the Securities Act of 1933 ("Securities Act"), 15 U.S.C. §§ 77e(a) and 77e(c);

Section 17(a)(2) of the Securities Act, 15 U.S.C. § 77q(a); and Section 10(b) of the Securities

Exchange Act of 1934 ("Exchange Act"), 15 U.S.C. § 78j(b), and Exchange Act Rule lOb-5, 17

C.F.R. § 240.10b-5. Defendants Davison and Rybicki also, directly and indirectly, violated the

anti-fraud provisions of the Exchange Act as Control Persons of EquiAlt under Section 20(a) of

the Exchange Act, 15 U.S.C. § 78t(a). Finally, Defendants EquiAlt, Davison, and Rybicki have

also aided and abetted violations of Section 15(a)ofthe Exchange Act, 15 U.S.C. § 78o(a). Unless

restrained and enjoined, EquiAlt, Davison,and Rybicki are reasonably likely to continue to violate

the federal securities laws.


  8.      Relief Defendants have all received proceeds of the fraud without any legitimate

entitlement to the money.

  9.      To halt this ongoing fraud, maintain the status quo, and preserve investor assets, the

Commission seeks several forms of relief, including asset freezes, appointment of a Receiver,

sworn accountings, and an order prohibiting the destruction of documents. The Commission also

seeks permanent injunctions and civil money penalties against all the Defendants, and

disgorgement of ill-gotten gains against the Defendants and Relief Defendants.

                    II.        DEFENDANTS AND RELIEF DEFENDANTS


   A. Defendants


   10.    DAVISON is a resident of Tampa, Florida. During all relevant times Davison was

EquiAlt's owner and Chief Executive Officer and together with Rybicki maintained control over
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 5 of 25 PageID 5




the Corporate Defendants. Davison personally controlled the bank accounts, finances, and

accounting for each of the Corporate Defendants. Davison is not, and has never been, registered

with the Commission, FINRA, or any state securities regulator. Davison, through his ownership

of EquiAlt, owns Fund 1, Fund 2, Fund 3, and the EA SIP Fund.

   11.    RYBICKI is a resident of Phoenix, Arizona. During all relevant times, Rybicki was

EquiAlt's Managing Director and President of Arizona Operations and together with Davison

maintained control over the Corporate Defendants. In this capacity, Rybicki reviewed and

approved marketing materials provided to investors, personally signed subscription agreements

with investors and supervised the relationships with third party advisors selling the Funds. Rybicki

also communicated directly with investors, and raised money from investors for the Funds.

Rybicki is the owner of Relief Defendant BR Support Services, LLC, which provides investor-

related services to EquiAlt, and has collected almost $24 million in commissions from the Funds.

In addition to the commission payments, Rybicki also received checks for more than $3.4 million

from the Funds for "return of principal." Rybicki is not, and has never been, registered with the

Commission,FINRA,or any state securities regulator.

   12.    EQUIALT is a Tampa, Florida-based limited liability company not registered with the

Commission in any capacity with no publicly traded stock. Formed in 2011, EquiAlt's primary

business is to manage Fund 1, Fund 2,Fund 3,and the EA SIP Fund,and has approximately twelve

employees in three states. During all relevant times, EquiAlt has been owned by Davison.

   13.    FUND 1 is a Nevada limited liability company formed on May 23, 2011. On July 19,

2011, Fund 1 filed with the Commission a Form D notice of exempt offering of debentures

pursuant to Rule 506 of Regulation D of the Securities Act seeking to raise $50 million from

investors. On August 13, 2019, Fund 1 filed an amended Form D notice under Rule 506 of
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 6 of 25 PageID 6




Regulation D seeking to raise $125 million from investors. Fund 1 has raised approximately $110

million from 733 investors during the period from January 2011 through November 2019.

   14.    FUND 2 is a Nevada limited liability company formed on April 24, 2013. On April 4,

2016, Fund 2 filed with the Commission a Form D notice ofexempt offering debentures pursuant

to Rule 506 of Regulation D ofthe Securities Act seeking to raise $20 million from investors. On

September 1, 2017, Fund 2 filed an amended Form D notice under Rule 506 of Regulation D

seeking to raise $50 million from investors. Fund 2 has raised approximately $39 million from

266 investors during the period from 2013 through November 2019.

   15.    FUND 3 is a Nevada limited liability company formed on June 26, 2013. Fund 3(now

closed)raised approximately $2.6 million from investors during the period from July 2013 through

December 2015.


   16.    EA SIP Fund is a Nevada limited liability company formed on May 23, 2016. On

August 8, 2016, the EA SIP Fund filed with the Commission a Form D notice of exempt offering

debentures pursuant to Rule 506 of Regulation D ofthe Securities Act seeking to raise $50 million

from investors. The EA SIP Fund has raised $21.7 million from 138 investors during the period

from April 2016 through November 2019.

   B. Relief Defendants


   17.    128 E DAVIS BLVD, LLC is a Florida limited liability company which received

investors' proceeds emanating from the Defendants' securities fraud and holds assets belonging to

the Funds.


  18.     310 78TH AYE,LLC is a Florida limited liability company which received investors'

proceeds emanating from the Defendants' securities fraud and holds assets belonging to the Funds.
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 7 of 25 PageID 7




   19.    551 3RD AVE S,LLC is a Florida limited liability company which received investors'

proceeds emanating from the Defendants' securities fraud and holds assets belonging to the Funds.

  20.     604 WEST AZEELE, LLC is a Florida limited liability company which received

investors' proceeds emanating from the Defendants' securities fraud and holds assets belonging to

the Funds.


  21.     2101 W. CYPRESS, LLC is a Florida limited liability company which received

investors' proceeds emanating from the Defendants' securities fraud and holds assets belonging to

the Funds.


  22.     2112 W.KENNEDY BLVD,LLC is a Florida limited liability company which received

investors' proceeds emanating from the Defendants' securities fraud and holds assets belonging to

the Funds.


  23.     5123 E. BROADWAY AVE, LLC is a Florida limited liability company which

received investors' proceeds emanating from the Defendants' securities fraud and holds assets

belonging to the Funds.

  24.     BLUE WATERS TI, LLC is a Florida limited liability company which received

investors' proceeds emanating from the Defendants' securities fraud and holds assets belonging to

the Funds.


  25.     BNAZ,LLC is a Florida limited liability company which received investors' proceeds

emanating from the Defendants' securities fraud.

  26.     BR SUPPORT SERVICES, LLC is an Arizona limited liability company which

received investors' proceeds emanating from the Defendants' securities fraud.
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 8 of 25 PageID 8




   27.    BUNGALOWS TI, LLC is a Florida limited liability company which received

investors' proceeds emanating from the Defendants' securities fraud and holds assets belonging to

the Funds.


  28.     CAPRI HAVEN,LLC is a Florida limited liability company which received investors'

proceeds emanating from the Defendants' securities fraud and holds assets belonging to the Funds.

  29.     EA NY, LLC is a New York limited liability company which received investors'

proceeds emanating from the Defendants' securities fraud and holds assets belonging to the Funds.

  30.     EQUIALT 519 3RD AVE S., LLC is a Florida limited liability company which

received investors' proceeds emanating from the Defendants' securities fraud and holds assets

belonging to the Funds.

  31.     MCDONALD REVOCABLE LIVING TRUST is a trust for the benefit of a relative

of Davison which received investors' proceeds emanating from the Defendants' securities fraud

and holds assets belonging to the Funds.

  32.     SILVER SANDS TI, LLC is a Florida limited liability company which received

investors' proceeds emanating from the Defendants' securities fraud and holds assets belonging to

the Funds.


  33.     TB OLDEST HOUSE EST. 1842, LLC is a Florida limited liability company which

received investors' proceeds emanating from the Defendants' securities fraud and holds assets

belonging to the Funds.

III.      JURISDICTION AND VENUE

  34.     This Court has jurisdiction over this action pursuEuit to Sections 21(d), 21 (e), and 27

ofthe Exchange Act, 15 U.S.C. §§78u(d), 78u(e) and 78aa.
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 9 of 25 PageID 9




   35.    This Court has personal jurisdiction over the Defendants and venue is proper in the

Middle District of Florida because Davison resides in the District, EquiAlt has its principal place

of business in the District, and the Funds' business operations have been conducted in the District.

Furthermore, much of the conduct constituting the fraud alleged in this Complaint has occurred in

the Middle District.

  36.     In connection with the conduct alleged in the Complaint, Defendants, directly and

indirectly, singly or in concert with others, made use ofthe means or instrumentalities of interstate

commerce, the means or instruments of transportation or communication in the interstate

commerce, and of the mails.

                                        IV.        FACTS


                                    A. EquiAlt and its Offerings


  37.     At all relevant times, Davison and Rybicki controlled EquiAlt whose primary business

was to directly, or indirectly, manage all of the day-to-day operations of Funds including the

solicitation ofinvestors, and all ofthe Funds accounting and financial activities. Davison formed

EquiAlt in 2011 and had signature authority over the company's bank accounts. Rybicki managed

EquiAlt's relationships with various unlicensed sales agents (acting as unregistered broker-

dealers) who sold the Funds' securities, communicated with investors, and was otherwise involved

in raising money for the Funds.

  38.     In marketing materials and through its website, EquiAlt claims to own a portfolio of

revenue-generating condominiums and single and multi-family homes. Meanwhile the private

placement memorandum for the Funds state that the investment objective of the Funds is to

purchase and sell single-family properties in distressed real estate markets in the U.S. and

participate in opportunistic lending in the U.S. In marketing materials provided to prospective
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 10 of 25 PageID 10




 investors, EquiAlt boasts that its programs or offerings "protect against market conditions" and

 are "not susceptible to interest rate hikes & lending trends." EquiAlt also claims to provide

commercial lending investments to construction and development projects,"filling in the gaps left

 by local community banking systems."

   39.    From January 2010 to November 2019, EquiAlt raised more than $170 Million from

some 1,100 investors though the sale of fixed rate debentures issued by the Funds. Of that total

amoimt,$145 Million was raised from January 2015 through November 2019. These debentures

are securities within the meaning of Section 2(a)(1) of the Securities Act and Section 3(a)(10) of

the Exchange Act. EquiAlt continues to market and raise funds from investors.

   40.    Defendants sold investors one type of security: 3-year or 4 year term debentures of the

Funds providing a fixed annual return of8% to 10%. Many ofthe investors were elderly, retired

and used IRAs to flmd their investments in the Funds. Furthermore, many of the investors were

unaccredited or unsophisticated in that they lacked knowledge and expertise in financial or

business matters, were not capable of evaluating the merits and risks of the investment, and were

not otherwise capable of bearing the economic risks ofthe investment. Many ofthe investors were

attracted by representations that the investments in the Funds were "secure," "safe," "low risk,"

and "conservative" and by assurances that EquiAlt could not go bankrupt.

   41.    EquiAlt also used in-house employees and unlicensed external sales agents to solicit

investments from the general public through cold calling campaigns, social media, websites, and

in-person meetings. Although the private placement memorandum provided to many investors

stated that the Funds"may" pay commissions or fees to registered broker/dealers or other financial

intermediaries, the Funds always paid commissions ofanywhere between 10%-14%. In fact, over

a period of several years the Funds have paid commissions (primarily to Rybicki or his company



                                               10
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 11 of 25 PageID 11




BR Support Services, LLC)totaling approximately $24 million using investor money. Moreover,

many of the subscription agreements signed by Rybicki actually stated that the investments are

being sold without commission.

                                      B. Fraudulent Conduct


  i.      The Defendants Are Conducting a Ponzi Scheme


  42.     The Funds have been operated as a Ponzi scheme almost since their inception. More

specifically, in a classic Ponzi-scheme fashion, the Funds are paying investors their monthly

interest payments for the debentures by raising and using new investor funds to pay old investors.

While Fund 3 is now closed. Fund 1, Fund 2, and the EA SIP Fund have collectively been raising

from investors approximately $2-3 million per month since January 2018.

  43.     Notably, since the beginning of their operations, the Funds have suffered significant

financial losses with monthly costs and expenses, including the interest owed to investors, greatly

exceeding revenues generated from the Funds' business operations.

  44.      Even if Fund 1, Fund 2 and the EA SIP Fund were able to liquidate their real estate

holdings at their values stated in their internal books and records, the Funds' combined assets

would fall millions of dollars short of the amount owed to investors by December 2020.

  ii.     Misappropriation of Investor Funds


  45.     Defendants Davison and Rybicki have misappropriated millions of dollars from the

Funds for their own personal benefit. In fact, between 2017 and 2018 Davison and Rybicki

received improper cash distributions totaling more than $11 million from the Funds. And in 2019,

Davison and Rybicki took improper cash distributions from the Funds of $6.1 million and $1.2

million, respectively, purportedly for the repayment of loans to the Funds.




                                                11
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 12 of 25 PageID 12




   46.     Davison and Rybicki often used this money to purchase high-end personal items such

as luxury automobiles (such as Ferraris, Porsches and a Rolls Royce), watches, and to charter

private jets. Davison alone spent more than $2.7 million on luxury automobiles and watches and

chartering private jets. Davison, in April 2017, also took cash distributions from several of the

Funds totaling $1.8 million and used the money to pay personal back income taxes owed to the

Internal Revenue Service.


   47.    In addition to these improper cash distributions, when visiting New York, Davison

stayed on multiple occasions at one of the Funds' most expensive properties, a $2.7 million

Manhattan condominium which has never generated any income for the Funds, despite having

been purchased several years ago with investor money.


   iii.   Misuse of Investor Funds



  48.     Instead of investing their funds as promised, the Defendants have misused millions of

dollars in several distinct ways - all of which are inconsistent with the private placement

memorandum provided to investors.

  49.     More specifically, the private placement memorandum for Fund 1, Fund 2, and the EA

SIP Fund state that investor money would be used to purchase, own, improve and/or sell real

property. In fact, the private placement memorandum for each ofthese Funds included a detailed

chart of"projected sources and uses of cash." The chart, however, identified only the following

six specific uses ofthat cash: investments in property, accounting and tax preparation, legal costs,

investor relations and communications expenses, marketing and sponsorship event fees, and

miscellaneous expenses and reserves. While the private placement memoranda for these Funds

state that "All uses of proceeds are estimated and subject to change," only the above six specific




                                                12
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 13 of 25 PageID 13




uses ofinvestor proceeds are delineated in the document. An example ofone ofthe charts included

in the private placement memorandum for Fund 1 is set forth below:

 SOURCES:


 Debentures:



 TOTAL SOURCES:                                                    $50,000,000.00




USES:


 Investment in Property                           $45,000,000.00
 Accounting and Tax Preparation                   $550,000.00

 Legal Costs                                      $250,000.00

 Investor Relations and Communications Expenses   $2,500,000.00


 Marketing and Sponsorship Event Fees             $200,000.00
 Miscellaneous Expenses and Reserves              $1,500,000.00

 TOTAL USES:                                      $50,000,000.00




  50.       Despite the restrictions of use contained in the private placement memoranda, the

Defendants misused investor funds in several ways, including (a) money from one Fund being

used to purchase real estate for another Fund or for third party entities owned by Davison;(b)

money from one Fund being used to pay investors in another Fund;(c) substantial undisclosed

commissions paid to unregistered sales agents; (d) substantial undisclosed fees such as due

diligence fees, management fees, success fees, auction fees, underwriting fees, purchase discount

fees, and bonuses paid to EquiAlt and Davison; and (e) substantial improper cash distributions to

Davison and Rybicki. The misuse of investor funds was not an isolated event but rather was

continuous over a period of several years and totaled millions of dollars.

                            C. Misrepresentations and Omissions to Investors

   i.       False Claims About Use of Investor Funds


                                                      13
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 14 of 25 PageID 14




   51.    The Defendants have misrepresented to investors how their money would be used by

the Funds. For example, the private placement memoranda for Fund 1, Fund 2, and the EA SIP

Fund indicate that approximately 90% of investor funds would be used to "invest in property."

Yet,less than 50% ofinvestor funds were actually used for that purpose. Indeed, a substantial part

ofthe remaining funds was used for improper purposes such as the payment of millions of dollars

in fees and bonuses to EquiAlt and others. None ofthese other fees were described in the offering

documents or marketing materials sent to investors.

   52.    As alleged above in paragraph 49, the private placement memoranda for Fund I, Fund

2, and the EA SIP Fund disclosed a list of specific uses of investor funds. This list, however, did

not disclose that the Funds would use investor money to pay EquiAlt extraneous fees described

above totaling millions of dollars. For example, although not disclosed to investors, the Funds

paid EquiAlt a so-called "discount fee" or the difference in the listed sales price for a particular

property and the ultimate purchase priced paid by the Fund to acquire such property. Instead of

benefiting from a lower ultimate sales price for the property,the Funds paid the actual cost savings

to EquiAlt as a discount fee. No aspect ofthis fee was ever disclosed to investors who were already

paying substantial management and other fees to EquiAlt supposedly to manage the Funds.

  53.     The Defendants also failed to disclose to investors that more than $6.61 million of

investor money would be transferred between the Funds with the money raised by one Fund being

used to pay the debts and obligations of another Fund. For example, in December 2015, Fund 1

and Fund 2 transferred, respectively $1.29 million and $1.08 million to Fund 3, which Fund 3 used

to pay approximately $2.3 million in principal and interest to its investors. Fund 3 could not have

made these payments without the cash infusion from Funds 1 and 2.




                                                14
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 15 of 25 PageID 15




   54.    The Defendants also failed to adequately disclose to investors that their funds would be

used to pay commissions to unlicensed third party sales agents. First, many of the subscription

agreements signed by Rybicki stated that investments in the Funds were being sold without the

payment of a commission. Furthermore, while the private placement memoranda provided to

investors stated that the Funds "may" pay commissions to sales agents, in reality commissions

were always paid in connection with the sale ofthe Funds' investments. In addition, in many cases

investors never received the private placement memoranda and were not informed about any

commission being paid in connection with their investment.

   55.    Investors were also misled about the payment of management fees to EquiAlt.

Although EquiAlt collected substantial management fees from the Funds, many investors were

expressly told that no management fees would be paid to EquiAlt. For example, EquiAlt's

President of Business Development and Marketing stated to Fund 2 investors in writing that

EquiAlt had no management fees.

  56.     Moreover, although the PPMs for all the Funds state that "the Manager will receive

Management Fees as set forth in the Operating Agreement and as described more fully below,"

there is no description elsewhere in the PPMs (or in the Operating Agreements, which were not

sent to investors) of what or how the management fees would be paid. Nowhere in the offering

materials is there any disclosure to investors that Equilat and Davision would receive more than

$6.67 million in "management fees" from the Funds or of the millions of dollars in other fees

described above.

   ii.     False Statements About Risk


  57.     Investors were misled about the safety and risk of their investments. While pitching

investments in the Funds, the Defendants represented that the investments were "low risk," "safe.



                                               15
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 16 of 25 PageID 16




and "conservative." Investors were even told that the Funds had "never lost investor dollars since

inception." The investments, however, were anything but low risk, safe or conservative. In fact,

the Funds have suffered substantial financial losses since their inception. Furthermore, Davison

and Rybicki have depleted the Funds' assets through a years-long scheme involving outright

misappropriation and misuse ofinvestor funds.

   iii.    False Statements About Registration With the Commission and Compliance with
           Applicable Laws

  58.     EquiAlt falsely told investors in at least one Fund (Fund 2) it was registered with the

Commission since 2009. In truth, neither EquiAlt nor the Funds have ever been registered with

the Commission in any capacity.

  59.     Written sales materials provided to investors also stated that "payments to licensed

brokers and/or finders may be made in compliance with applicable federal and state securities

laws." In reality, during a period of several years the Funds and BR Support Services, LLC paid

commissions totaling millions of dollars to unlicensed sales agents deployed by EquiAlt to market

and promote the Funds' investments.

   iv.    False Statements About Fund Management

  60.     Investors were even misled about the persons involved in managing the Funds. At least

two different versions of the private placement memoranda for Fund 1 and Fund 2 identified an

individual referred to herein as"DD" as a CPA with an MBA degree who was serving as EquiAlt's

ChiefFinancial Officer. The description ofDD's professional background highlighted DD's prior

experience at a Big-Four accounting firm, with SEC reporting requirements, as a CFO of a $100

million real estate mortgage and title company, and as an author. However, DD has never worked

as EquiAlt's CFO.




                                               16
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 17 of 25 PageID 17




                                           V. CLAIMS FOR RELIEF

                                                COUNT I

                        Violations of Sections 5(a) and 5(c) of the Securities Act

                                        (Against all Defendants)

  61.         The Commission repeats and realleges paragraphs 1 through 60 of this Complaint as if

fully set forth herein.

  62.         No registration statement was filed or in effect with the Commission pursuant to the

Securities Act with respect to the securities issued by the Defendants subject to this count as

described in this Complaint and no exemption from registration existed with respect to these

securities.


   63. From January 2011 through the present, the Defendants directly and indirectly:


                  (a)      made use of any means or instruments of transportation or communication
                           in interstate commerce or of the mails to sell securities, through the use or
                           medium ofa prospectus or otherwise;


                 (b)       carried or caused to be carried securities through the mails or in interstate
                           commerce, by any means or instruments of transportation, for the purpose
                           of sale or delivery after sale; or


                 (c)       made use of any means or instruments of transportation or communication
                          in interstate commerce or ofthe mails to offer to sell or offer to buy through
                          the use or medium of any prospectus or otherwise any security.


without a registration statement having been filed or being in effect with the Commission as to

such securities.

  64.     By reason of the foregoing the Defendants have directly or indirectly violated, and

unless enjoined and restrained are reasonably likely to continue to violate Sections 5(a) and 5(c)

ofthe Securities Act, 15 U.S.C. §§ 77e(a)and 77e(c).


                                                    17
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 18 of 25 PageID 18




                                              COUNT 11


                          Violations of Section 17(a)(1) of the Securities Act
                                      (Against All Defendants)

   65.     The Commission repeats and realleges paragraphs 1 through 60 ofthis Complaint as if

fully set forth herein.

   66.     From January 2011 through the present,the Defendants, in the offer or sale of securities

by use of the means or instruments of transportation or communication in interstate commerce or

by use of the mails, directly or indirectly, knowingly or recklessly employed devices, schemes or

artifices to defraud.


   67.     By reason of the foregoing, the Defendants have directly or indirectly violated, and

unless enjoined and restrained are reasonably likely to continue to violate. Section 17(a)(1) ofthe

Securities Act, 15 U.S.C. § 77q(a)(l).

                                               COUNT III


                           Violations of Section 17(a)(2) of the Securities Act
                                       (Against All Defendants)


  68.      The Commission repeats and realleges Paragraphs 1 through 60 ofthis Complaint as if

fully set forth herein.

  69.      From January 2011 through the present,the Defendants, in the offer or sale of securities

by use of the means or instruments of transportation or communication in interstate commerce or

by the use ofthe mails, directly or indirectly negligently obtained money or property by means of

untrue statements of material facts or omissions to state material facts necessary to make the

statements made,in the light ofthe circumstances under which they were made, not misleading.

  70.     By reason of the foregoing, the Defendants have directly or indirectly violated, and

unless enjoined and restrained, are reasonably likely to continue to violate. Section 17(a)(2) ofthe

Securities Act, 15 U.S.C. § 77q(a)(2).

                                                  18
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 19 of 25 PageID 19




                                             COUNT IV


                          Violations of Section 17(a)(3) of the Securities Act
                                      (Against All Defendants)


   71.     The Commission repeats and realleges Paragraphs 1 through 60 of this Complaint as if

fully set forth herein.

   72.     From January 2011 through the present, the Defendants, in the offer or sale ofsecurities

by use ofthe means or instruments oftransportation or communication in interstate commerce and

by the use of the mails, directly or indirectly negligently engaged in transactions, practices and

courses of business which have operated, are now operating or will operate as a fraud or deceit

upon the purchasers.

   73.     By reason of the foregoing, the Defendants have directly or indirectly violated, and

unless enjoined and restrained, are reasonably likely to continue to violate. Section 17(a)(3) ofthe

Securities Act, 15 U.S.C. § 77q(a)(3).

                                              COUNT V



              Violations of Section 10(b) and Rule 10b-5(a) of the Exchange Act

                                      (Against All Defendants)

   74.     The Commission repeats and realleges Paragraphs 1 through 60 of this Complaint as if

fully set forth herein.

   75.     From January 2011 through the present, the Defendants, directly and indirectly, by use

of the means and instrumentalities of interstate commerce, or of the mails in connection with the

purchase or sale of securities, knowingly or recklessly employed devices, schemes or artifices to

defraud.




                                                 19
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 20 of 25 PageID 20




   76.    By reason ofthe foregoing, the Defendants have directly or indirectly directly violated,

and unless enjoined and restrained, are reasonably likely to continue to violate. Section 10(b) of

the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5(a), 17 C.F.R. § 240.10b-5(a), thereunder.

                                          COUNT VI



              Violations of Section 10(b) and Rule 10b-5(b) of the Exchange Act

                                   (Against All Defendants)



   77.     The Commission repeats and realleges Paragraphs 1 through 60 of this Complaint as if

fully set forth herein.

   78.     From January 2011 through the present, the Defendants, directly and indirectly, by use

of the means and instrumentalities of interstate commerce, or of the mails in connection with the

purchase or sale ofsecurities, knowingly or recklessly made untrue statements of material facts or

omitted to state material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

   79.     By reason of the foregoing, the Defendants have directly and indirectly violated, and

unless enjoined, are reasonably likely to continue to violate. Section 10(b) of the Exchange Act,

15 U.S.C. § 78j(b), and Rule 10b-5(b), 17 C.F.R. § 240.10b-5(b), thereunder.

                                          COUNT VII



              Violations of Section 10(b) and Rule 10b-5(c) of the Exchange Act

                                   (Against All Defendants)


   80.     The Commission repeats and realleges Paragraphs 1 through 60 of this Complaint as if

fully set forth herein.




                                               20
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 21 of 25 PageID 21




  81.      From January 2011 through the present, the Defendants, directly and indirectly, by use

of the means and instrumentalities of interstate commerce, or of the mails in connection with the

purchase or sale of securities, knowingly or recklessly engaged in acts, practices and courses of

business which operated as a fraud upon the purchasers of such securities,

  82.      By reason of the foregoing, the Defendants have directly and indirectly violated, and

unless enjoined and restrained, are reasonably likely to continue to violate. Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5(c), 17 C.F.R. § 240.10b-5(c), thereunder.

                                          COUNT VIII

                 Section 20(a) of the Exchange Act- Control Person Liabilitv


(Against Davison and Rvbicki for EquiAlt Fund 1, Fund 2,Fund 3 and the EA SIP Fund*s
               Violations of Section 10(b) and Rule lOb-5 of the Exchange Act)


   83.     The Commission repeats and realleges Paragraphs 1 through 60 of this Complaint as if

fully set forth herein.

   84.     From January 2011 through the present Davison and Rybicki have been, directly or

indirectly, control persons of EquiAlt, Fund 1, Fund 2, Fund 3,and the EA SIP Fund for purposes

of Section 20(a)of the Exchange Act, 15 U.S.C. § 78t(a).

   85.     From January 2011 through the present, EquiAlt, Fund 1, Fund 2, Fund 3, and the EA

SIP Fund have violated Section 10(b) and Rule lOb-5 ofthe Exchange Act.

   86.     As control persons of EquiAlt, Fund 1, Fund 2,Fund 3 and the EA SIP Fund are jointly

and severally liable with and to the same extent as EquiAlt, Fund 1, Fund 2, Fund 3 and the EA

SIP Fund for each of their violations of Section 10(b) and Rule lOb-5 ofthe Exchange Act.

  87.      By reason of the foregoing, Davison and Rybicki have directly and indirectly violated,

and unless enjoined and restrained, are reasonably likely to continue to violate. Sections 10(b)and


                                                21
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 22 of 25 PageID 22




20(a) and Rule lOb-5 of the Exchange Act, 15 U.S.C. § 78j(b) and § 78t(a), and 17 C.F.R.

§240.10b-5.


                                              COUNT IX


             Aiding and Abetting Violations of Section 15(a) of the Exchange Act

                             (Against EquiAit Davison, and Rvbicki)

   88.     The Commission repeats and realleges paragraphs 1 through 60 of this Complaint as if

fully set forth herein.

   89.     Several unlicensed sales agents used by Defendants to sell the Funds' securities acted

as brokers or dealers and have made use ofthe mails or any means or instrumentality of interstate

commerce to effect transactions in securities, or to induce or attempt to induce the purchase or sale

of securities, without being associated with a broker or dealer that was registered with the

Commission in accordance with Section 15(b) of the Exchange Act, 15 U.S.C. § 78o(b), in

violation of Section 15(a) of the Exchange Act 15 U.S.C. § 78o(a).

   90.     These agents solicited investments in the Funds, provided investors with offering

materials, provided advice on the merits of the investment, and received transaction-based

compensation. They have never been registered with the Commission as broker-dealers or

associated with a registered broker-dealer.

  91.      Defendants EquiAlt, Davison, and Rybicki, knowingly or recklessly, substantially

assisted the violations of Section 15(a) of the Exchange Act by these unlicensed sales agents.

Unless enjoined. Defendants EquiAlt, Davison, and Rybicki are reasonably likely to continue to

provide substantial assistance in connection with the violations of Section 15(a) of the Exchange

Act by these unlicensed sales agents.




                                                 22
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 23 of 25 PageID 23




                                    RELIEF REQUESTED

       WHEREFORE, the Commission respectfully requests the Court find the Defendants

committed the violations alleged, and:

                                               A.
     Temporary Restraining Order,Permanent Iniunctive and Permanent Injunction

       Issue a   Temporary Restraining Order, a Preliminary Injunction and a Permanent

Injunction and restraining and enjoining:(1)the Defendants from violating Sections 5(a)and 5(c)

and 17(a) of the Securities Act and Sections 10(b) and 15(a)(1) and Rule lOb-5 of the Exchange

Act;(2)Davison and Rybicki from violating Section 20(a) ofthe Exchange Act; and (3)EquiAlt,

Davison and Rybicki from aiding and abetting violations of Section 15(a)of the Exchange Act.

                                               B.
                                          Asset Freeze


       Issue an Order freezing the assets ofthe Defendants and Relief Defendants.

                                               C.
                                  Appointment of a Receiver


       Appoint a receiver over Defendants EquiAlt, Fundl, Fund 2, Fund 3, EA SIP Fund, and

the Relief Defendants.


                                               D.
                                     Records Preservation


       Issue an Order restraining and enjoining Defendants and ReliefDefendants,their directors,

officers, agents, servants, employees, attorneys, depositories, banks, and those persons in active

concert or participation with any one or more of them, and each of them, from, directly or

indirectly, destroying, mutilating, concealing, altering, disposing of, or otherwise rendering

illegible in any manner, and of the books, records, documents, correspondence, brochures,

manuals, papers, ledgers, accounts, statements, obligations, files and other property of or

pertaining to Defendants and ReliefDefendants, wherever located and in whatever form,electronic

                                               23
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 24 of 25 PageID 24




or otherwise, that refer or relate to the acts or courses of conduct alleged in this Complaint, until

further Order of this Court.

                                                  E.
                                         Sworn Accounting


        Issue an Order directing Defendants and Relief Defendants to provide a sworn accounting

of all assets and liabilities, including all monies and real properties directly or indirectly received

from investors and all uses of investor funds.

                                                  F.
                              Disgorgement and Preiudgment Interest


        Issue an Order directing the Defendants and Relief Defendants to disgorge all ill-gotten

gains or proceeds received from investors as a result of the acts and/or courses of conduct

complained of herein, with prejudgment interest thereon.

                                                G.
                                       Civil Money Penalties

        Issue an Order directing the Defendants to pay civil money penalties pursuant to Section

20(d)ofthe Securities Act and Section 21(d)ofthe Exchange Act.

                                                  H.
                                           Further Relief


        Grant such other and further relief as may be necessary and appropriate.

                                                  I.
                                     Retention of Jurisdiction


        Further, the Commission respectfully requests that the Court retain jurisdiction over this

action in order to implement and carry out the terms of all orders and decrees that it may enter, or

to entertain any suitable application or motion by the Commission for additional relief within the

jurisdiction of this Court.




                                                 24
Case 8:20-cv-00325-MSS-AEP Document 1 Filed 02/11/20 Page 25 of 25 PageID 25



                              DEMAND FOR JURY TRIAL


      The Commission hereby demands a trial by jury in this case.



                                          Respectfully submitted,



February 11, 2020
                                          Alise Johnson, Esq.
                                          Senior Trial Counsel
                                          Fla. Bar No. 0003270
                                          Direct Dial;(305)982-6385
                                          Email: iohnsonali@sec.gov

                                          Attorney for Plaintiff
                                          SECURITIES AND EXCHANGE
                                          COMMISSION
                                          801 Brickell Avenue, Suite 1950
                                          Miami, Florida 33131
                                          Telephone:(305)982-6300
                                          Facsimile:(305)536-4154




                                            25
